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                            UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFORNIA


                                     CRIMINAL MINUTES

Date: February 22, 2022        Time: 4:30 – 5:19              Judge: MAXINE M. CHESNEY
                                      = 49 minutes


Case No.: 18-cr-00465-MMC- Case Name: UNITED STATES v. Fujian Jinhua Integrated Circuit, Co.
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Attorney for Plaintiff: Laura Vartain, Nicholas Hunter, Stephen Marzen
Attorney for Defendant: Jack DiCanio, Emily Reitmeier, Matthew Sloan

 Deputy Clerk: Tracy Geiger                      Court Reporter: Ana Dub
 Mandarin Interpreter: Yang Shao                 Probation Officer: N/A


                                        PROCEEDINGS


Jury Waiver Inquiry Hearing – hearing held by Zoom webinar.

Court questioned Fujian Jinhua Integrated Circuit representative – Jinfu Zheng, assisted by
Mandarin interpreter Yang Shao.

Court accepted the waiver of jury and found that the waiver was knowingly, intelligently, and
voluntarily made.

CASE CONTINUED TO: February 28, 2022 at 9:00 am for Bench Trial (6 weeks)
